Case 1:23-cv-00108-LMB-JFA Document 805 Filed 06/14/24 Page 1 of 9 PageID# 19152




                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION



  UNITED STATES, et al.,

                Plaintiff,                          No: 1:23-cv-00108-LMB-JFA

         v.

  GOOGLE LLC,

                Defendant.


         NON-PARTY THE INTERPUBLIC GROUP OF COMPANIES, INC.’S
      MEMORANDUM OF LAW IN RESPONSE TO GOOGLE’S AND PLAINTIFFS’
                           MOTIONS TO SEAL

         Pursuant to Local Civil Rule 5(C), non-party The Interpublic Group of Companies, Inc.

  (“IPG”) submits this Memorandum of Law in response to Defendant Google’s and Plaintiffs’

  Motions to Seal Exhibits for Briefing on Summary Judgment and Motions to Exclude Expert

  Testimony. Pursuant to this Court’s Order (ECF No. 728) regarding responses to the Motions to

  Seal Exhibits for Briefing on Summary Judgment and Motions to Exclude Expert Testimony at

  ECF Nos. 592, 605, 612, 642, 648, 651, 661, 667, 698, 712, 715, and 719, IPG responds in

  support of these Motions to Seal. IPG seeks to permanently seal limited portions of Defendant’s

  Exhibits 67, 71, 74, and 142, and of Plaintiffs’ Exhibits 68, 76, 78, 93, 170, and Lim Exhibit F

  containing IPG’s confidential information as denoted by blue and brown highlighted redactions

  submitted herewith as Attachments A-J 1 to Declaration of William H. Crosby (hereafter

  Declaration or Decl.).


  1
   IPG understands that Plaintiffs are filing identical redacted exhibits with the Court (with the
  exception of Lim Exhibit F) and is following this approach pursuant to the request of Plaintiffs
  made to IPG on June 12, 2024. IPG also request the opportunity to respond further if any party
  moves to unseal any information IPG has sought be permanently sealed.

                                                  1
Case 1:23-cv-00108-LMB-JFA Document 805 Filed 06/14/24 Page 2 of 9 PageID# 19153




         For the reasons stated below, IPG respectfully requests that the Court permanently seal

  the redactions proposed by IPG as reflected in Attachments A-J submitted herewith, which are

  necessary to protect the competitively sensitive financial terms of IPG’s client contracts; other

  non-public and sensitive contractual or commercial terms; performance metrics and key-

  performance indicators; commercially sensitive strategies of IPG or which IPG has designed for

  its clients; and personal information for IPG employees, including names and email addresses.


                                         LEGAL STANDARD

         With respect to a request to seal documents the Court “must determine the source of the

  right of access with respect to each document.” Stone v. Univ. of Md. Med. Sys. Corp., 855 F.2d

  178, 180-81 (4th Cir. 1988). “The right of public access to documents or materials filed in a

  district court derives from two independent sources: the common law and the First Amendment.”

  Va. Dep’t of State Police v. Washington Post, 386 F.3d 567, 575 (4th Cir. 2004). “While the

  common law presumption in favor of access attaches to all judicial records and documents, the

  First Amendment guarantee of access has been extended only to particular judicial records and

  documents.” Stone, 855 F.2d at 180.

         Despite a presumption to public access, a company’s “strong interest in preserving the

  confidentiality of its proprietary and trade-secret information . . . may justify partial sealing of

  court records.” Doe v. Pub. Citizen, 749 F.3d 246, 269 (4th Cir. 2014). A non-party, such as IPG,

  should not have its confidential information, which was produced pursuant to a third-party

  subpoena, disclosed to the public. Procedurally, before allowing documents to be filed under

  seal, the Court must “(1) provide public notice of the request to seal and allow interested parties




                                                     2
Case 1:23-cv-00108-LMB-JFA Document 805 Filed 06/14/24 Page 3 of 9 PageID# 19154




  a reasonable opportunity to object, 2 (2) consider less drastic alternatives to sealing the

  documents, and (3) provide specific reasons and factual findings supporting its decision to seal

  the documents and for rejecting the alternatives.” Ashcraft v. Conoco, Inc., 218 F.3d 288, 302

  (4th Cir. 2000). A memorandum supporting a request to seal shall include:

          (1) A non-confidential description of what material has been filed under seal;
          (2) A statement why sealing is necessary, and why another procedure will not
          suffice, as well as appropriate evidentiary support for the sealing request;
          (3) References to the governing case law, an analysis of the appropriate standard to
          be applied for that specific filing, and a description of how that standard has been
          satisfied; and
          (4) Unless permanent sealing is sought, a statement as to the period of time the
          party seeks to have the matter maintained under seal and how the matter is to be
          handled upon unsealing.
                                           U.S.D.C. E.D. Va. Local Civil Rule 5(C).


                                             DISCUSSION

          IPG seeks to permanently seal information redacted with blue and brown highlighting in

  Attachments A-J, which include IPG’s competitively sensitive financial terms of IPG’s client

  contracts; other non-public and sensitive contractual or commercial terms; performance metrics

  and key-performance indicators; commercially sensitive strategies of IPG or which IPG has

  designed for its clients; and personal information of IPG employees that is not relevant to the

  subject matter of this litigation.

          Public disclosure of the non-public financial terms of IPG commercial agreements with

  its clients, including rates, pricing, volume commitments, discounts, invoice amounts, and other

  sensitive contractual terms would put IPG at a disadvantage in future negotiations with other




  2
    Google and Plaintiffs each filed a public Notice for each Motion to Seal. This Court extended
  the deadline for responses to June 14, 2024, to allow interested parties a reasonable opportunity
  to respond (ECF. No. 728).

                                                    3
Case 1:23-cv-00108-LMB-JFA Document 805 Filed 06/14/24 Page 4 of 9 PageID# 19155




  clients. Disclosure would also provide competitors of IPG with an advantage competing with

  IPG for future business opportunities and could harm competition and clients. (Decl. at 4).

         Public disclosure of other non-public negotiated contractual terms and conditions,

  including the end dates of contracts and any extension terms, could harm IPG because this

  information would reveal the timing of future contract negotiations with IPG’s customers,

  allowing competitors of IPG a competitive advantage in future contract negotiations. (Decl. at 5).

         Public disclosure of other non-public, sensitive information about IPG’s work on behalf

  of its clients, including performance benchmarks and criteria, key performance indicators, media

  buying campaigns costs, and other financial metrics would be harmful to IPG, its clients and to

  competition because it would reveal IPG’s costs of services and sensitive information on the

  performance of IPG’s ad campaigns for customers. (Decl. at 6).

         IPG’s confidential business strategies, including details of advertising strategies and

  campaign tactics set forth in presentations and statements of work or other campaign documents,

  whether designed for or proposed to customers, are commercially sensitive and reflect IPG’s

  proprietary intellectual property and constitute IPG’s trade secrets. Public disclosure of such

  information would put IPG at a competitive disadvantage because it would provide competitors

  with insights into IPG’s proprietary and sensitive commercial and campaign strategies. (Decl. at

  7). Where IPG’s denoted confidential information includes personal information for IPG

  employees, including names and email addresses, this is information that is not normally

  available to the public and has no bearing on the merits of the case, public disclosure of which

  could be disruptive to IPG’s business activities. (Decl. at 8).

     The harm that would result from the disclosure of the confidential and commercially

  sensitive information outweighs any public interest in access to the information. The public



                                                    4
Case 1:23-cv-00108-LMB-JFA Document 805 Filed 06/14/24 Page 5 of 9 PageID# 19156




  interest in transparency must be balanced against the legitimate interests of the parties involved.

  In this case, the harm to IPG from disclosure far outweighs any public interest in accessing the

  documents, as the documents contain competitively sensitive information, and the public is still

  able to discern the meaning of the redacted exhibits. Thus, permanent sealing of these limited

  portions of the exhibits in the form of Attachments A-J is appropriate under both the First

  Amendment and common-law standards. IPG takes no position on whether the remaining

  materials that are the subject of the Motions to Seal should remain sealed.

          A. Non-Confidential Description of IPG’s Material to be Sealed.

  IPG submits the following non-confidential descriptions of the information that it seeks to

  protect pursuant to the proposed redactions.

   Exhibit  Relevant              Description of         Description of Confidential Information
             Motion                 Document
 PX68     5.17 DOJ             CMS authorization to p. 2-3 - competitively sensitive financial
 CMS-ADS- Oppositions          Weber Shandwick to   terms of IPG’s client contracts;
 1139301                       make ad buys in 2021.p. 2 - contact information for IPG
                                                    employees, including names and email
                                                    addresses.
 PX76     5.17 DOJ             2019-2020 Paid Media p. 3-4, 8-10 - commercially sensitive
 CMS-ADS- Oppositions          Plan for             strategies of IPG or which IPG has
 041988                        HealthCare.gov Open designed for its client;
                               Enrollment Campaign. p. 5-7, 9, and 11 - competitively sensitive
                                                    financial terms of IPG’s client contract.
 PX 78         5.17 DOJ        FY’22 Holiday Media p. 5, 8, 13, 16-17 - competitively sensitive
  USPS-        Oppositions     Recommendation for   financial information;
 ADS-                          USPS.                p. 7, 9- 10, 12, 16-17 - commercially
 064864                                             sensitive strategies of IPG or which IPG
                                                    has designed for its clients.
 PX 93    5.17 DOJ             Attachment 1 – Task  p. 2-3, 8-9 - competitively sensitive
 CMS-ADS- Oppositions          Order Document;      financial terms of IPG’s client contracts;
 11868                         exhibit to Umbrella  other non-public and sensitive contractual
                               IDIQ Contract.       or commercial terms; performance metrics
                                                    and key-performance indicators.
 PX170    5.17 DOJ             Email exchange       p. 2 - contact information for IPG’s
 CMS-ADS- Oppositions          between CMS and      employees, including names and email
 380931                        Universal McCann     addresses.



                                                   5
Case 1:23-cv-00108-LMB-JFA Document 805 Filed 06/14/24 Page 6 of 9 PageID# 19157




   Exhibit       Relevant          Description of        Description of Confidential Information
                 Motion               Document
                               with a signed Letter of
                               Agency.
 Lim Ex. F.    5.17 DOJ        Daubert exhibit (Lim      p. 42-67 - competitively sensitive financial
               Oppositions     Exhibit F).               terms of IPG’s client contracts.

 DX 67      4.26 Google        Email Exchange            p. 2-3 - contact information for IPG
 CMS-ADS- MSJ &                between CMS and           employees, including names and email
 0000373744 Daubert            Universal McCann.         addresses;
                                                         p. 2 - performance metrics and key-
                                                         performance indicators.
 DX 71     4.26 Google         Internal USPS email       p. 3, 18-20 personal information for IPG
 USPS-ADS- MSJ &               attaching T&Cs,           employees, including names and email
 902290    Daubert             Master Contract with      addresses;
                               Universal McCann.         p. 3-6, 9, 12-17 - other non-public and
               5.17 DOJ                                  sensitive contractual or commercial terms;
               Oppositions                               p. 4, 17 - competitively sensitive financial
                                                         terms of IPG’s client contracts.

 DX 74                         Task Order Award          p. 2-3 - contact information for IPG
 CMS-ADS- 4.26 Google          email from                employees, including names and email
 0000018746 MSJ &              CMS. Summary of           addresses;
            Daubert            award amounts and a       p. 2-6 - competitively sensitive financial
                               conflict of information   terms of IPG’s client contracts; other non-
                               form and statement of     public and sensitive contractual or
                               work.                     commercial terms.
 DX 142     4.26 Google        UM Bill to USPS Feb.      p. 2-35 - competitively sensitive financial
 USPS-ADS- MSJ &               2022.                     terms of IPG’s client contracts.
 0000669681 Daubert


         B. Sealing Is Necessary, Another Procedure Will Not Suffice, As IPG Provides
            Appropriate Evidentiary Support For The Sealing Request.

         The exhibits redacted with blue and brown highlighting in Attachments A-J to the

  Declaration submitted herewith contain IPG’s highly confidential financial information that, if

  disclosed, would cause irreparable harm to IPG. Disclosure of this information to the public or

  competitors would result in significant harm to IPG, including but not limited to financial losses

  and loss of competitive advantage, as the documents contain non-public financial and proprietary

  information that could be utilized by its competitors. This information is not available to the

                                                   6
Case 1:23-cv-00108-LMB-JFA Document 805 Filed 06/14/24 Page 7 of 9 PageID# 19158




  public and would be of benefit to competitors that could unfairly compete with IPG utilizing this

  non-public confidential information. Portions of these exhibits also contain contact information

  for IPG’s employees, which is information that is not normally available to the public and has no

  bearing on the merits of the case.

         C. Sealing Is Appropriate Under Applicable Caselaw.

         There is a “presumption of access accorded to judicial records.” Rushford v. New Yorker

  Magazine, 846 F.2d 249, 253 (4th Cir. 1988) (citing Nixon, 435 U.S. at 597). However, the

  Fourth Circuit has recognized that corporations have a strong interest in protecting confidential

  information, including trade secrets, and that the partial sealing of court records may be justified.

  Doe v. Pub. Citizen, 749 F.3d 246, 269 (4th Cir. 2014).; see also Pittston Co. v. United States,

  368 F.3d 385, 406 (4th Cir. 2004) (district court did not abuse its discretion in refusing to unseal

  documents containing confidential and proprietary business information filed in connection with

  summary judgment motion); Benedict v. Hankook Tire Co. Ltd., 323 F. Supp. 3d 747, 766 (E.D.

  Va. 2018) (businesses may have a “compelling interest under the First Amendment test” in

  “protecting proprietary commercial information”); In re Knight Pub. Co., 743 F.2d 231 (4th Cir.

  1984) (court may seal documents to prevent others from gaining a business advantage).

         Here, IPG, a third-party, seeks the sealing of portions of exhibits for highly sensitive,

  non-public financial and commercial strategy information and limited personal details of IPG

  employees. These documents would severely harm IPG’s competitive standing if made public.

  District courts in the Fourth Circuit have sealed similar categories of information where the First

  Amendment right of access attaches. See, e.g., Level 3 Commc'ns, LLC v. Limelight Networks,

  Inc., 611 F. Supp. 2d 572, 577 (E.D. Va. 2009) (stating that courts may refuse “to permit their

  files to serve ... as sources of business information that might harm a litigant’s competitive



                                                    7
Case 1:23-cv-00108-LMB-JFA Document 805 Filed 06/14/24 Page 8 of 9 PageID# 19159




  standing”) (quoting Nixon, 435 U.S. at 598); E. W., LLC v. Rahman, 2012 WL 3843657, at *3

  (E.D. Va. Sept. 4, 2012) (“sensitive financial data, including gross profit data, the disclosure of

  which would be highly likely to cause significant harm to the [company’s] business competitive

  position”); Intelligent Verification Sys., LLC v. Microsoft Corp., 2014 WL 12659953, at *1 (E.D.

  Va. Dec. 22, 2014) (sealing “sensitive business information” attached to summary judgment

  motion); HiQ Materials AG v. ICP Indus., Inc. 2023 WL 4842783, at *2 (M.D.N.C. June 28,

  2023) (defendant “seeks to redact only proprietary business and customer information and trade

  secrets in the form of financial analyses”); 360 Mortg. Grp., LLC v. Stonegate Mortg. Corp.,

  2016 WL 4939308, at *1-2 (E.D.N.C. Sept. 14, 2016) (“finances” are “the type of confidential

  business information properly subject to protection”); SMD Software, Inc. v. EMove, Inc., 2013

  WL 1091054, at *2-*3 (E.D.N.C. Mar. 15, 2013) (profit and loss statements, pricing, marketing

  strategies, expense information, market share, and customer information).

                                           CONCLUSION

         For the reasons above, IPG respectfully requests that this Court grant the Motions to Seal

  with respect to the redacted portions of the exhibits in Attachments A-J submitted herewith. A

  proposed order is submitted herewith.



  Dated: June 14, 2024                                          Respectfully submitted,
                                                                /s/ Kellen S. Dwyer
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                                                    8
Case 1:23-cv-00108-LMB-JFA Document 805 Filed 06/14/24 Page 9 of 9 PageID# 19160




                                  CERTIFICATE OF SERVICE

         I certify that on this 14h day of June, 2024, I filed the foregoing document and served all

  counsel of record in this action via the Court’s ECF filing system.


                                                               /s/ Kellen S. Dwyer
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                                                  9
